CaS€ 13-30161-JCO DOC l

Bl (()fficial Form l) (12/11)

Filed 02/13/13 Page 1 of 40

 

United Statos Bankruptcy Court
NORTHERN DISTRICT OF FLORIDA

 

Nnme OfDebel' (ifind`lvidu:i|, enter Last, First, Middle):

Grete , Ro.bert Clinton

Nllme Df.l()ll‘lt Debfl')l' (Spouse)(Last, Pirst, Middle):

Grete , Tiffany Lee

 

 

All Other Names used by the Debtor in the last 8 years
(include lnanied, maiden, and trade na.mes):
NONE

All Other Names used by the Joint Debtor in the last 8 years
(include married maidenl and tmde nmnes):
.NONE'

 

L.ELSt four digits ofSoo. Seo. or Indvidllal-Taxpayer I.D. (ITIN] No./Complete EIN
(it‘mcre than one, slate all): 433 7

Last four digits oi`Soe. Sec. or Indvidual-Taxpayer l.D. (lTIN) No.."Complete EIN
(it`more than one, state a]l): 2 8 92

 

Street Address of` Debtor (No. & street Ciry, and staley
2413 Duncan Drive

 

Nicevilla, .E'L

 

Street Address of .loint Debtor
2 413 Duncan Drive

(No. & Street, City, and State):

 

Nic'ev:l.lls, FL

 

 

 

 

 

 

 

 

 

 

l:l Partlici'ship

l;l ()ther (if debtor is not one of`tllc above
entities, check this box and state type of

|:| Sloekbl‘oker
I:| Commodity Brol<er

ZchoDE ziPcoi:)E
, 3257.9 32573
County of` Residence or of the County of Residenee or of the
Principal P|ace ot'Business: Okaloo,sa Principal Plaee of Business: Okaloosa
Mailing Address ofDebtor (ifdiiremm from area address): Mailing Address of Joint Debtor (ir¢lil=reram from street address);
sAME' SAME
zn=coDE chcoDE
Location of Principal Assets ot`aniness Debtor ZLFCODE
(if different from street address above): M
Type of Debtm. {ann ofm_gmizudon) Natlll`e Uf BuSilleSS Chapter of Bankrnptcy Corlc linder Wllich the Pctition is Filed
(Check One box.) (Check one box)
(Llw¢l< one bOX-) |:| Health Cme Business I:I Chapter? l:] Chapter 15 Petition for Recognition
Individual (includes .Toint Debtors) ` m Chapter 9 of` a Foreign Main Proceeding
See Exhz'bl‘t D on page 2 ofthisform. |:| Smgle Asset Rea] Estate ns det-med m Chaptcr l l _ _ v _
in 11 U.S.C` § 101 (51B) m Chapter 12 |:‘ Chapter 15 Pctttlon for Recognltlon
l:l COFP<>FHTI'°“ (ill€»lll€les LLC and L»LP) |:| gamma m Chapter 13 of a Foreign Nomnain Proceeding

 

Nature ofDebts (Cheek one box)

|:| Debts are primarily consumer debts, defined Debts are primarily

 

l:| Del)tor is a tax-exempt organization
under Title 26 of the United Statcs
Code (the internal Revcnuo Codc).

 

Each country in which aforcign proceeding by,
regarding1 or agiinst debtor is pending:

 

 

 

Filing Fee (Check one box)
Full Filing Fcc attached
I:l Filing Fee to be paid in installments (applical)l e to individuals only). Mnst

attach signed application for the oouit's consideration certifying that lhe debtor
is unable to pay fee except in installmentsl Rule lOOG(b)` Scc OEticial Form Z!A.

m Filing Fee waiver requested (applieable to chapter '.' individuals only). Mnst
attach signed application l`or the coul'l's eonsidelution. See OH‘l trial Form 3E.

 

entity below m granting Bank in ll U.S.C. § 1011(8) as " incurred by an business debts
|:| Olher individual primarily for a porsonal, fannly,
or household purpose"
Chapter 15 Debtol‘s Tax-Exempt Entity Chapter 11Debt0rs:
Country ofdebtor‘s center of main interests: {ClICCl< box, if nppll`cablc.) Chcck one box:

m Debtor is a small business as defined in ll U.S.C. § lOl(SlD).
gi Debtor is not a small business debtor as defined in ll U.S.C. § ll)l($ lD).

Chcck if:

l:| Del)tor’s aggregate noncontingent liquidated debts (oxcluding debts
owed to insiders or affiliates) are less than $2,190,000 ,

Ctlcck all applicable boxes:
l:l A plan is being filed with this petition
l:l Acoeptances of the plan were solicited prepetition from one or more
classes ofcreditors, in accordance with ll U.S.C. § l 126(b).

 

Statistical/Atlministrative Int`ormatinn

Debtor estimates that funds will be available for distribution to unsecured creditorsl

distribution to unsecured creditors.

l:i Debtol‘ estimates tl)at, aiter any exempt properly is excluded and administrative expenses paid, there will be no fluids available for

'l'H]S SPACE lS FOR COUR'l` USE ONLY

 

Estimated Nlnnber of` Creditors

l:l |:l |:l |:| |:| |:|

E| |:l I]

 

 

 

l-d‘) 50-99 loo-199 200-999 l.OUG- $,001- l0,00 l - 25’0°1' 50.001- Owr
, 5,000 n),ooo 25,000, 50.000 100.000 , loo,ooo
Estimatod Assets |:l |:| l:| l:l |:|
>‘
$0 to s§o,oul m sloo,ooi m $500,001 sl,nno,ool slo,noo,ooi $50,000,001 slno,oso,uol $500,000,001 Muru than
$50,000 $100.000 ssoo,ono to si le sio m ssa m sloo to $500 lo $l billion si billion
million million million million million
Estimatod Liabilitios
l:l
$0 m sso,l)nl m s lno,onl in ssnn,ool sl,onn,onl sil),ono,ool sso,onn,nl)l si nn,oon,nnl saun,ono,ool him than
$50,000 sion,nuu ssno,r)nn lo si to $10 m $50 to si 00 to sain co $1 billion $l billion
million million million million million

 

 

 

 

CaS€ lS-SOlGl-.]CO DOC 1 Filed 02/13/13 Page 2 Ol 40

 

 

 

 

 

 

 

 

 

 

 

 

Bl (orncial norm l) (12/11) FORM m, Page 2
' ‘ Namc oichtor(s):
Voluntary P‘_mtmn 1 d d v Robert Clinton Grete and
U`hispcrge must be comp eis an filed in ever y case) are te, Tiffany Lee
All Prlor Bankruptcy Cases I=‘llcd Within Lnst 8 Yca rs (If more than two, attach additional sheet)
Location thre Filed: Case Number: Date Filed:
NONE'
Location Where Filed: Case Nurnber: Date Filed:
Pending Bnnkruptcy Case Filcd by any Spouse, Partner or Afi“lliate of this Debtor (lf' more than one, attach additional sheet)
Nnme of Debtor: Case Number: Date Filed:
Distl'ictf Relationship: Judge?
Exhlblt A Exhibit B
(To be completed if debtor is required to file periodic reports (To be completed if debtor is nn individual
(e.g., forms lOK and lOQ) with the Secllrities and Exchange whose debts are primarily consumer debts)
Comrnission pursuant to Section 13 or lS(d) of the Securiti`es l, the attorney f`or the petitioner named in the foregoing pctition, declare that l
Exchange Acl Of 1934 and is requesting relief linder Cl'la[lt€l' 11) have informed the petitioner that [he or she] may proceed under chapter 7, 1 1, 12
or 13 of title 11, United States Codc, and have explained the relief available linder
each such chapter I further certify thatl have delivered to the debtor the notice
required by ll U.S.C. §342(b).
l:l Exhibit A is attached and made a part of this petition X 02/13/2013
Sigrmture ot'Attomey t`or Debtor(s} Date
Exhiblt C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
cr safety'? `

|:| Yes, and exhibit C is attached and made a part ot` this petition

KI No_

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhil)it D.)

Exhibit D, completed and signed by the debtor, is attached and made part of' this petition
It` this is a joint petition:

V

>A Exhibit D also completed and signed by the joint debtor is attached and made n part of this petition

 

Into rrnation charding the Debtor - Vennc
(Checl< ally applicable bcx)

Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately
preceding the date cf this petition or for a longer part of snell 180 days than in any other District.

l:l There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

l:l Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Statcs in this District, or has no
principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court1 in this District, or
the interests of the parties will be served in regard to the relief sought in this District.

 

Ccrtii'n:ation by n Debtor Who Rcsldcs as n Tenant of Rcsidcntial Property
{Checl< all applicable boxes.)

|:l landlord has a judgment against the debtor f`or possession of debtor's residencel {If` box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Ad`dress of` landlord)

l:l Debtor claims that linder applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to curc the
entire monetary default that gave rise to the judgment f`or possession after the judgment for possession was entered, and

l:l chlor has included with this petition the deposit With the court of any rent that.would become due during the 3D-day
period after the filing of` the petitions

l:l chtor certifies that lie/she has served the landlord with this certification (l 1 U.S.C. § 362(|)).

 

 

 

 

 

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l

 

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Bi (ofncau norm 1) (12/11)

FORM Bl, Pago

3

 

Voluntary Petition
(Tht`sprrge must be completed and filed in every case)

Name ofDebtor(s)‘.
Robert Clinton Grete and

Grete, Tiffany Lee

 

' gnatures

 

Signaturc(s) of ])cbtor(s) (Individunl./.l`oint)
l declare under penalty of perjury that the information provided in this
petition is true and correct
[If` petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 71 I am aware that I may proceed
under chapter 7, 11, 12, or 13 of` title 11, United States Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7.

[lf no attorney represents me and no bankruptcy petition preparer
signs the petition] l have obtained and read the notice required by
11 U.S.C. §342(b)

l request relief in accordance with the chapter of title 11, United States
Code, specified in this petitionl

X /.s/ Ro.bert Clinton Gret:e

Signaturu of`Debtor

X/s/ Grete, Tiffany' Lee

 

Signature ot'.loint Debtor

 

Telephone Number (ifnot represented by attorney)

02/13/2013

 

Dtite

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this
petition is true and correct, that I am the foreign representative ol` a debtor
in a foreign proceeding, and that l am authorized to file this petition

(Check only one box.)

|:| l request relief in accordance with chapter 15 of title ll, United States
Code. Certified copies of the documents required by 11 U.S.C. § 1515
are attached

|:I Pursuant to ll U.S.C. § 151 1 , l request relief in accordance with the
chapter of title 1 1 specified in this petition A certified copy of the
order granting-recognition of the foreign main proceeding is attached

X

 

{Signature offoreign Representative)

 

(Printed name of`Foreign Representative)

 

(Date)

 

Signature of ritttorney"r
X /s/ J. Steven Forci, Esquire

 

Signnture of Attomey for Debtor(s)
J. Staven Ford, E.squire 51286.9

 

Printcd Namo of Artcmey for De|)tor[s}

W.'l'..i.son, Harre_l_l, Farringt:c>n E Ford
I"irmNnnte

Pos t Offi ce Drawer .‘l. 3430
Address

 

Pensac:ola , FL 32591

 

(850) 438-1111

 

Telephone Numbet
02/13/2 013

bale

*In a ease in which § 707(b)(4)([)) ap_plies, this signature also
constitutes a certification that the attorney has no knowledge

Signature of Non-Attorney Bankruptcy Petition Prcparer

l declare under penalty of perjury that (1) I am a bankruptcy petition
preparer as defined in 11 U.S.C. § l 10‘, .(2) 1 prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under l 1 U.S.C. §§ llO(b), 110
(h), and 342(b)', and, (3) if titles or guidelines have been promulgated
pursuant to 11 U.S.C. § 110(11) setting a maximum fee for services
bankruptcy petition preparcrs, l have given the debtor notice of the
maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section Official
Form 19 is attached

 

Printed Name and titlc, it'any, ofBankruptcy Petition Prcparer

 

Social-Security number (If the bankruptcy petition preparer is not an
individual,_ state the Social~Sccurity number of`the ol`f'icer, princi al,
responsible person or partner of the bankruptcy petition preparerg
(Requircd by ll U.S.C.§ 1`t0.)

 

 

 

 

after an inquiry that the information in the schedules is incorrectl Address
Sigllatltre ofDebtor (C0rporntioulPartnersllip) X
l declare under penalty o'f` perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor. one

The debtor requests the relief in accordance with the chapter of
title 11, United States Code, specified in this petition

X

 

Signature ol` Autlrorized lndivitlual

 

Printed Name cf Authcrizcd lndividual

 

Title of Aut`horizcd lndividual

 

13 atc

 

Signature of bankruptcy petition preparer or officer, principal2 _ _
responsible person, or partner whose S_oci_al-Security number is provided

Names and Social-Security numbers of all other individuals who prepared
or assisted in preparing this-document unless the bankruptcy petition
preparer is not an individual

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each pcrson.

A bankruptcy petition preparer ’s failure to comply with the provisions of title
11 and the Federcrl Rules of Bnnlrrtrptcy Procednre may result injincs or
ir)rpr'isonrncnror both. ll U.S.C. § lIO,' 18 U.S.C. § 156.

 

 

 

 

 

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56 Summary {Official Form 6 - Summary) (12107)

UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

ln l`e Robert Clinton Grete and Grete,

Tiffany Lee CBSG NO.

Chapter 11

l Debtor

 

SUNINIARY OF SCHEDULES

tndicate as to each schedule whether that schedute is attached and state the number of pages in each. Report the totals from Schedu|es A, B. D, El Fl |, and J tn the
boxes provided. Add the amounts from Schedu|es A and B tc determine the total amount of the debtor‘s assets. Add the amounts of all claims from Schedu|es Dl El and

F to determine the total amount of the debtor‘s

t`l|e a case under chapter 7, ’11,0|'13,

|tabi|`\tiest |ndi\n'dua| debtors must also complete the "Statistica| Summary of Certain Liabi|it|es and Re|ated Data"lf they

 

 
   

 

 
 

 

 
   

 

 

 

    

 

 

 

 

 

    

 

 

 

 
   

 

 

Attached No. of
NAN|E OF SCHEDULE (YeslN'o] Sheets ASSETS L|AB|L|T|ES
A-Rea| Property
Yes 1 $ 995, OOO.CJO
B-Persona| Prupelty
Yes 4 37 , 929. 68
C-Properly C|aimed as
Exempt Yes l
D-Creditors Holding Secured
C|aims Yes 3 2, 822,245 . 62 _
E-Creditors Holding
Unsecured F'riurity C|aims Yes l
(Tota| of C|aims on Schedu|e E)
F~Credifors Ho|ding
Unsecured Nonpriorlty C|aims Yes 3
G-Executory Contracts and
Unexpired Leases YES l
H-Cndebtors
Yes 1
|-Current |ncome of |nc|]v]dual
Debmr($) Y@S 1 13, 649. 00
J-Current Expenditures of 0
individual Debtur($) Y“"s 2 14/ 000' 0
TOTAL 18 1,032,929.68 $ 3, 066,257.00

 

       

 

 

 

 

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BB Summary (Official Form 6 -- Summary) (1 2107}

UNITED STATES BANKRUPTCY COURT
NORTHERN D|STR|CT OF FLOR|DA
NORTHERN D|VlSlON

in re Robert clinton crete and Grete, Tiffany Lee Case No.
Chep'ter ll

l Debtor

 

STAT|ST|CAL SUN|NIARY OF CERTA|N LlAB|LlTlES AND RELATED DATA (28 U.S.C § 159)

if you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankrupfcy Code ('11 U.S.C. § 101(8), filing s case under
chapter 7,1'|, or 13, you must report aii information requested below.

.Check this box if you are an individual debtor whose debts are NOT primarin consumer debts. You are not required to report any information here.

This information is for statistical purposes only under 23 U.S.C. §-159.

Summarize the following types of iiabiiities, as reported in the Scheduies, and total them.

 

 

 

 

 

 

 

 

Type of Liabiiity Amount

Domestic Support Oh|igations (from Schedule E} $

Taxes and Certain Other Dabts Owed to Governmenta| Units (trom Scheduie E) 5

C|aims for Death or Personai injury Whiie Debtor Was intoxicated (from Schedu|e E)' (whether

disputed or undisputed] $

Si;udent Loan Obiigations (from Schedu|e F) 5

Domestic Support, Separation Agreement, and Divorce Decree Obligai'.ione Not Reported on $

““SEIYé-cml§ \:

Obiigations to Penslon or Profit-Sharing, and Other Simitar Obiigations ifrom Schedu|e F) $

TOTAL $

 

 

State the following:

 

 

 

 

 

 

Average income (from Schedu|e |, Line16) $
Average Expenses (from Soheduie Jr Line 'iii) $
Current Month|y income (from Form 22A Llne 12; OR, Form 223 Line 11; OR, Form 220 L`|ne 20) $

 

State the following:

1. Toi.'al from Schedule "UNSECURED lF ANY" column

2. Total from Schedule E, "AMOUNT ENT|TLED TO PR|ORETY" column

3. Total from Scheduie "AMOUNT NOT ENT|TLED TO PRiOR|TY lF ANY" column

4. Tota| from Scheduie F

6. Total of unsecured debt Sum Of‘i 3 and 4

 

 

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BG Der:laration (Officiai Form 6 - Declaratlon) (1 2107]

|n re Ro.bert Clinton Grete and Grete, Tiffany Lee CaSe NC.
Debtor iif known)

 

DECLARAT|ON CONCERN|NG DEBTOR'S SCHEDULES

 

DECLARAT|ON UNDER PENALTY OF PERJURY BY AN |NDlVlDUAL DEBTOR

| declare under penalty of perjurythai| have read the foregoing summary and schedules, consisting of _ 19 sheets, and that they are true and
correct to the best of my knowledge information and belief.

 

Dale: 2/13/20.13 gignature /S/ Robert Clinton Grete
Ro.bert C.i.inton Grete

 

Daie: 2/13/2013 gignature /s/ Gret:e, Tiffany Lee
Grete, Tiffany Lee

 

l [lt“joint Case, both spouses must sign.]

Pena|ty for making a false statement or concealing properiy: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

 

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FoRrvl sen (ofnclal Form sA) (12.'01;

iii l”e Robert Clint:on Gz:'ete and Gret:e, Tiffany Lee
Debtor(s)

 

, Case No. _
(lf known)

SCHEDULE A-REAL PROPERTY

Except as directed below list all real property in which the debtor has any |egal, equitable, or future interestl including all property owned as a
cotenant community property, or in Which the debtor has a life estate include any property in which the debtor holds rights and powers
exercisable for the debtors own benefit. if the debtor is married, state whether the husband, wifc, both, or the marital community own the property
by placing an "H," “W," “J,” or “C" in the column labeled “Husband. W|fe, Joint,. or Communily." if the debtor holds no interest in reai property. write
“None" under “Description and l_ooation of Property.”

Do not include interests in executory contracts and unexpired leases on this schedu|e. List them in Scheduie G-Executory
Contracts and Unexpired Leases.

if an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. if no entity
claims to hold a secured interest in the property. write “None" in the column labeled "Amou nt of Secured C|aim."

if the debtor is an individual or if a joint petition is- tiled, state the amount of any exemption claimed in the property only in Schedu|e C - Property
Claimed as Exempt.

 

 

 

 

 

 

 

 

 

 

Description and Location of Property Nature of Debtor's C\':;ir::t Arnount of
interest in Property of Debtor.a lnterest’ Secured Cialm
Husband__H in Property Without
W|fe__W Deducting any
Jo]nt___] Secured Claim or
communlw__C Exemption
906 Nutmeg Avenue, Ni.ceville FL 32578 FS€ Simpl€ $30, 000- 00 $30/ 000- 00
1305 iv 23rd street, Nieeville FL 32573 Fee Simple J $85, OOO- 00 $85, 000- 00
1092 Forest Lake Terrace, Nicevi_l_'l_a, FL Fee SimP-le J $150, 000~ 00 0150, 000- 00
325 78
110 Lincolnshire, Niceville, FL 32578 Fee Simple J' $115, 000. 00 $115, 000 . 00
21 Kel.i.y Way, Val.paraiso, FL 32580 FBE Simpl€ J $70/ 000- 00 $70/ 0'00- 00
2413 Duncan Drive, Niceville FL 32578 Fee Simple J 5495, 000 - 00 $485, 000- 00
No continuation sheets attached TOTAL $ 995, 000 - 00
[Report also on Summary of Schedules.i

 

 

 

 

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BGB (Official Form SB) (12»'07]

in re Ro.bert Clinton Gret:e and Grete, Tiffany Lee CaSe NO.

 

Debtor(s) . or tnown)

SCHEDULE B-PERSONAL PROPERTY

Except as directed below. list all personal property of the debtor of whatever kind. if the debtor has no property in one or more of the categories,

place an ")d’ in the appropriate position in the column labeled “None." if additional space is needed in any category, attach a separate sheet properly
identified With the case name, case number. and the number of the oategory. if the debtor ls married, state whether the husband, wife, both, or the
marital community own the property by placing an "H," “W," “J," or "C” in the column labeled "Husband. Wife. Joini, or Communlty." |f the debtor is an
individual or ajoint petition is filed, state the amount of any exemptions claimed only in Schedule C - F'ropeity C|aimed as Exempi.

Do not list interests in executory contracts and unexpired leases on this schedule. Llst them in Schedule G-Executory Contracts
and Unexp|red Leases.

if the property ls being held iorthe debtor by someone elsel state that person’s name and address under “Description and Location of Property." if
the property is being held for a minor chi|d, simply state the child's initials and the name and address of the child's parent or guard|en, Such as
"A.B., a minor chi|d, by John Doe, guardian." D'o not disclose the chl|d's name. See, ‘i'l U.S.C. §112 and Fed. R. Bankr. P. 100?(m).

 

 

 

 

 

Current
- Va|ue
Type of Property N Descrlption and Locatlon of Property of Debtor,a |nterest’
o Husband__H in Property Without
Wife__W Deducting any
n J°int_'J Secured Cl`a`lm or
e Community--C Exampt'°n
1. Cash on hand. Cash J $.316. 05
Location: In debtor's possession
2. Checklng, savings orotherfinanclal Egl_'|'_n FCU J $247. 83
accounts, certificates of deposit, or shares
in hanks, savings and loan,thrlft, building 838 Eglin Pkwy NE
andloan,andhomesteadlssucialions,or Fort Walton Beach FL 32547
credit unlons. brokerage houses, or _ - _
cooperatives ACCt ending lIl 2852
Cheoking
Location: In debtor's possession
Eglin FCU J $5.47
838 Eglin Pkwy NE
Fort Walton Beach FL 3254'7
Acct ending in 4962
L'ocation: In debtor's possession
Eglin Federal C.redit Union J $30»45
838 Eglin Pkwy NE
Fort Walton Beach FL 32547
Acct ending in 2852
Savings
Loc'ation: In deb.tor's possession
Eglin Federal Credit Union J $253- 92
835 E'g.`i.in Parkway NE
Fort: Walton Beach FL
Ac:ct ending in 9627
Location: In debtor's possession

 

 

 

 

 

 

 

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BSB {Officlal Form 6|3) ('12»'07)

 

 

 

 

 

 

 

 

 

 

 

ln re Robert C.Iinton Gr‘ete and Grete, '.I'iffany Lee ’ CaSe NO.
Debtor(s) (lf known
SCHEDULE B-PERSONAL PROPERTY
(Cont|riuation Sheet)
Current
. . . Vaiue
Type of Property N DGS<‘-"Pf'°“ and L°°at'°" °f P"°P°"W of posture interest
0 Husband__|_| in Property Without
Wlfe__W Deductirig any
n ' Secured C|alm or
JO|nt--J
e communiiy--c E"°'“P"°"
, security deposits with public utilities, Ci ty of Ni CeVil_'i_e J $ 6 0 . 00
gil:->:rl;one companies, landlords, and 204 North Partin Driv_e
Ni-cevill'e FL 32578
Loo._ation: In debtor is possession
. i-tousehold goods and furnishings, Household GOOQ"S and F'urnishing$: J $3, 486. 00
including aiidio, video, and computer
equipmel'i\. '
See Ai':i':ached "Exhibit A"
Location: In debtor is possession
. Books, pictures and other art obiects, X
antiques. stamp, coln, record, tape,
compact disc. end other collections or
collectlbies.
. Wearlng apparei. Clothing J $1 OO. 00
Location: l'n debtor is possession
. Furs and]ewelry. _`E'u_rs and J'ewelry; J $425. 00
Weddings Rings: $350. 00
Cbeap watches , ear rings , bracelets , and
necklaces: $75. 00
Locati-on: In debtor rs possession
. Flrearms and sports, photographicl and Camer'as ; J $3 70 . 00
other hobe equipment O_'i_d Nik.‘on Camera : $35 . 00
Analog Video Cazzier'a (bi"oken) : $10. 00
Nikon Analog Ca.mera: $75. 00
Nikon Digital Camera.: $2.50 . 00
Locration: In debtor is possession
Golf C.'lubs (old) J $2.5. 00
Location: In debtor is possession
. interests in insurance policies Name Lincoln National Policy J $6, 900. 00
i f i ll d . .
oooooooo.- Io oooooo'o oooooooooo

 

 

 

Page 2 of 4

 

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sss (ofriciai Form ssi iizior)

in re Robert Clinton Grete and Grete,

Tiffany Lee

 

Debtor(s)

SCHEDULE B~PERSONAL PROPERTV

(Continuation Sheet)

Case No.

(lf known)

 

Type of Property

OSGZ

Description and Location of Property

 

 

 

Husband~-H

Wife--W
Joint--J

Community--C

Current
Value
of Debtor's interest
in Property Without
Dsciucting any
Secured C|aim or
Eitemption

 

10‘Al1nuities. itemize and name each issuer.

11. interest in an education |RA as
defined fn 26 U.S.C. 530(|))(1) or under
a qualified State tuition plan as defined in
26 U.S.G. 529(b)(1). lee particulars
(File separately the record[s) of any such
interest(s). 11 ti.S.C. 521tc).)

. interests in iRA, ER|SA, Keogi'i, or other
pension or profit sharing plans. G|ve
particulars

1

N

1

w

. Stock and interests in incorporated and
unincorporated businessesl lternize.

1

.p.

ltemize.

16. Governirierit and corporate bonds and
other negotiable and non-negotiable
instrumentsl

16. Accounts Receivable.

1?. Aiimony, maintenance, suppcrt, and
property settle merits to which the debtor
is or may be entitled. Give partlculars.

'i B. Oti'ier liquidated debts owed to debtor
including tax refunds. Give particulars

1 9. Equitable or future lnterests, life estates,
and rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule of Real Proper|y.

20. Contingent and non-contingent interests
iri estate of a decedent death benefit
pian, life insurance policy, or trust.

2

_\

. Other contingent and unliquidated claims
of avery nature, including tax refunds,
counterclaims of the debtor, and rights to
setoff ctaims. Give estimated value of
each.

 

. interests in partnerships or]oint ventures.

 

 

Sun Life Policy
Location: In debtoris possession

BPN Outside the Box, LLC
Looation: In debtoris possession

Renovation Services Company
Location:. In debtoris possession

Rent (possibly uncollectable)

-Looation: In debtoris possession

Possible BP Claim (Was originally denied but
might try to pursue again)
Location: In debtoris possession

J

 

 

$5,700.00

$o.oo

$O..OO

$2,500.00

Unknow'n

 

 

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see (ofnc:al Form ssi ¢12101;

 

 

 

 

 

 

|n re Robert Clin ton Grete and Grete, Tiffany Lee C&lSe NO.
Debior(s) (lf known)
(Contlnuation Sheet)
Current
Value
Type of Property N Descrlptlon and Location of Proporty of Debtor_s |ntereat’
o Husband__H in Property Without
Wife__W Deducting any
n Joint___l Securod C|aim or
a Communlty--C Ex°mptl°"
22. Fatonts, copyrights and other intellectual .X
properly. Gii.re particulars
23. Llr:enses, franchises, and other general X
intangibles lee particulars
24. Custnmer lists or other compilations X
containing personally ldentlllahle
information (as described in 11 U.S.C.
101¢41.¢\)) provided to the debtor by
individuals ln connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
25. Auiomoblles. trucksl trailers ana other 2002 Nissan Fron tier J $4 , 000 . 00
vehicles and accessories . , .
Looa tion : In debtor s possession
2007 Honda Odyssey J $13, 500, 00

26. Boats, motors and accessories

27. A|rcratt and accessories

28. Ofi'\ce equipment, furnishings and
supplies

29. Niachinery, fixtures, equipment and
supplies used in business

30. |nventory.
31. Anima|s.
32. Crops - growing or harvested.
Give particulars
33. Farmlng equipment and implements

34. Farm supplies chemicals and feed.

35. ther personai property of any kind not
already llsted. ltemize.

 

 

 

Looation: In debtor's possession

 

 

Page 4 of 4

 

Total ~I\-

 

$37,929. 68

 

(Report total also on Summary of Schedu|es_)
include amounts from any continuation sheets attached

 

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sec (ofnclal Form sci 104:10)

ln re Ro.bert Clinton Grete and Grete, Tif.fany Lee CaSe NO. j
D€bi”.Oi'(S) {if known)

SCHEDULE C-PROPERTY CLA||V|ED AS EXENIPT

Debtor claims the exemptions to which debtor is entitled under: |I| Check if debtor claims a homestead exemption that exceeds $146.450.*
(Check one box)

l:l 11 u.s.c, § 522(b) (2)

K| 11 U.S.C. § 522(b) (3)

 

 

 

Specify- Law Vaiue of Curront
Description of Property Provldlng each C|aimed Value of Property
Exemption Exemption Without Deductlng
Exemptlons
2413 Dunoan Drive, Nioevil_le Fl. Const.Art. 10 §4 (a) (l), FSA $ 0.00 $ 485,000.00 :
FL 32573 §§222.01-, 222.02, 222.05 ;
Household Goods and Fl Const. Art. 10 §4 (e} (2), FSA $ 2,000.00 $ 3,486.00
Fur'nishings `§222 . 0 61
Lincoln National Policy Fl. Stat:. Ann. §222.14 $ 6,900.00 $ 6',900.00
Sun Life Policy F.l. St:at. Ann. §222.14 ' $ 5,700.00 $ 5,700.00
2002 Nissan Frontier F.I.. Stat. Ann. §222.25 (1) $ 1,000-,00 $ 4,000.00
2007 Honda Odyssey F.T., Stat. Ann. §222.25(.1) $ 1,000.00 $ 13,500.00

 

 

 

 

 

 

Page No. l of l

* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commencch on or after thc date of adjustment

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ssn (orricial Fomq sol (12101)

|n reRobert Clinton Grete and G'rete, Tiffany Lee
Delotor(s)

SCHEDULE D - CRED|TORS HOLDING SECURED CLA||V|S

Case No.
{if known)

State the name, mailing address, including zip code. and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has With the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Llst
creditors holding all types of secured interests such as judgment liens, garnishmentsl statutory liens, mortgagesl deeds of trust,
and other security interests '

Llst creditors in alphabetical order to the extent practicable if a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor childl by John Doe, guardian." Do not disclose the
chi|d's name See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m}. lf all secured creditors Will not fit on this pagel use the
continuation sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claiml place an “X" in the column labeled
“Codebtor," include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. if a joint petition is
filed, state whether the husbandl wife, both of theml or the marital community may be liable on each claim by placing an "l-l." "W,"
“,”J or "C” in the column labeled "l-lusband, Wil‘e, .lointl or Community."

|f the claim is contingent place -an “X” in the column labeled "Contlngent." lf the claim is- unliquidated place an "X" in the
column labeled "Unliquidated." lt the claim is disputed, place an "X" in the column labeled “Disputed.” (You may need to place an
"X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Co||ateral” and “Unsecured Portion, if Any" in the
boxes labeled "Total(s)" on the last sheet of the completed schedule Report the total from the column labeled "Arnount of Claim
Without Deductlng Value of Co|lateral” also on the Summary of Schedules and, if the debtor is an individual With primarily
consumer debts, report the total from the column labeled "Unsecured Porticnl if Any" on the Statistica| Summary of Certain
l_labilities and Re|ated Data.

|:] Check this box if debtor has no creditors holding secured claims to report on this Schedu|e D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

greditor'g, Name and Date C|airn was lncurred, Nature Amount of Clalm Unsecured
l lmsi"n££|‘;dg":|$$ d of Lien, and Description and |V|arlcet -c, Without Port|on, |f Any
ncuing oean ,_ V| . . 153
Accoum Numher § a ue of Property Subject to Llen g § g Deducting Value
(See instructions Above.) g H--Hushand _§ z:5:_ g of Ccllateral
5 w--wlfe § § §
0 J--Joint 0 :l D
C--Community
AccountNo: J $ 109, 746.26 $ 24,746'-25
Creditor # : l
BAC Home Loans
c/o Ronald R. Wolfe & Assoc 1305 N 23rd Street, Niaeville
PO Box 25018 FL 3257'8
Ta.mpa FL 33622-5018
Value: $ 85,000.00
AooountNo; 9333 J $ 197, 656.06 $ 37,656.06
Creditor # : 2 Mortage on real property
Bank of America
P.O. Box 5170 1092 Forest Lai'ce Terrace,
Sinu'. Valley CA 93062~5170 Nicevi.`l'.le, FL 32578
Value: $ 160, OO0.00
2 COilllnLlelOH Sl'ieelS attached Subtota| $ $ 307! 402 _ 32 $ 62' 402' 32
(Tctal of this page)
Total$
(Use only on last page]

 

 

(Repoi"t a so on Summary oi iii app ca5 e, rech a s_‘o ‘on

Schedules.)

Stalislioa| Sumrnary of
Cerlaln tiabilll|es and
Re|ated Data)

 

 

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eeo (orri¢=ial Form so) ¢12.'01) - - cant.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|n reRobert Clinton Grete and Grete, Tiffany' Lee CaSe No_
Deb'llol'(S} (lf known)
(Continuaticn Sheet)
Cr@ditor'$ Namg and Date C|alm was |neurred, Nature Amount of C|aim Unsecured
Nlal||ng AddreSS of Lien, and Description and Nlarltst -5 Without Portion, |f Any
|nc|"ding Z|P code and ’* Value ofPro ert Sub ectto Llen s 2
AccountNumber § p y l §§ § Deducungva|ue
-(See instructions /~lbove.) 3 H--Husband -_§ §- :s °f C°"atera'
6 w--Wlfe 5 § §
Cl J--Joint. 0 2 L'.\
G--Commun|ty
AccountNol 8321 J $ 429,514, 76 $ 429,514. 76
Creditor # : 3 Sec:ond Mortgage
Credit Contz'o_l, LLC‘
PO Box 4187 2413 Duncan Drive, Niceville
Hazelw'ood MO 63042 FL 32578
Value: $ 485,000.00
AccountNo: 7512 J $ 120,000.00 $ 501000-00
Creditor # : 4 Mortege on real property
Na tions tar Mortgage .
PO Box 650783 21 Kelly Way, Valparaiso, FL
Dallas TX 75265 32580
Value: $ 70,000.00
Aecounil~lo: 5975 J s 1,259,843.96 $ 774-1843-96
Creditor # .' 5 mortgage
PennyMac Loan Servic:es, LLC
PO Box 514387 2413 Duncan Drive, Niceville
Los Angeles CA 90051-4387 FL 32578
Value: $ 485,000.00
AccountNo: 3232 J $ 107,.934.04 $ 107,934.04
Creditor # : 6
Real Time Solutions
PO Box 35838 1305 N 23rd Street, Niceville
Dallas TX 75235 FL 32'578
Value: $ 85,000.00
AccotlntNo: 3229 H 5 118, 670.32 $ 118,670,32
C‘reditc>r # : 7 Sec.'ond Mortgage.-
Real. Time Solutions, Inc.'.
PO Box 35888 110 Lincolnsh-ire, Nic:eville,
Dallas T.X 75235 FL 32578
Value: $ 115,000.00
Sh_€@i l‘lO- 1 Of 2 continuation sheets attached to Schedule of Creditors Subtota| $ $ 21 035, 953_ 03 $ li 430, 953_ 95
l-lolding Secured Claims tTOleOflhis PHQE)
1 Total$
(Use only on last pagel

 

 

 

iRepoFt a so on bumrnary of
Schedules,)

ll applicable report also on
Stat|stical Sum mary ot
Certain L|abi|llles and
Related Dala)

 

 

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BBD (Offfcla| Form ED) ('I 2ilJ7) ~ Cont.

|n reRobert Clinton Grete and Grete, Tiffany Lee

 

Debtor(s)

Case No.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(lf known}
(Continuation Sheet)
cred|tor'$ Name and Date C|a|m.was |ncurred, Nature Amount of C|aim Unsecured
Mai|ing Ad€|rBSS of Llen, and Description and Market -u Without Portlc:»nJ lf Any
|nc|udlng Z|F Code and ._ - § 3
Account Number § Value of Property Sub]act to Llen g § g Deductlng Value
(See Irrsiruciiorrs Above.) g H--Husband -,§ §- °:°:' °fc°"atera|
6 W--Wife § § §
0 J--Joint 0 :) n
C--Community
AccountNo: 0333 J $ 209, 734. 23 $ 129, 734. 23
Creditor # : 8 Fir.st Mortgage
Seterus Inc.'.
14523 SW Millikan Way Ste 200 906 Nutmeg Avenue, Niceville
Beav'erton OR 97005 FL 325‘78
Value: $ 80,000.00
Accouano: J $ 141,376`. 71 $ 141,376'. 71
Creditor # : 9
SunTru.st Bank
c/o Arthur D. Rubin, Esq. 1092 Farest La}'ce Terrace,
PO Box 47718 Ni--ceville, FL 32578
Jaaksonville FL 32247-7718
Value: $ 160,000. 00
AccountNo: 5495 J' $ 127, 769,28 $ 12, 769.28
Creditor # : 10 Mortage on real property
The Bank of New York Mellon
c/o Shapiro, Fi.shman & Gac:he 110 Lincolnshire, Niceville,
4630 Woodland Corp. Ste 100 FL 32578
Tampa FL 33614
Value: $ 115,000.00
Account No:
Valu¢:
AccountNo:
Value;
Sheet not 2 of 2 _c:ontinuation sheets attached to Schec|ule of Credilors gubtota| $ $ 473, 380_22 $ 233,880. 22

 

Holding Secured C|aims

[TuiH| of fhis page)

Tota| $
(Use only on last page)

 

 

s 2,322,245. 62

s 1,827,245.62

 

 

iRepoEf a so on Summary_f"n "
Schedules.)

Wi<apnam)§n_“
Sta|islic:a| Sum mary of

Cenain Lial:i||lies and

Releted Dala)

 

 

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ace (orricisi Form ssi ro4r10)

|n re Robert Clinton Grete and Grete, Tiffany Lee
Debtor(s)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIOR|TY CLAIN|S

, Case No.

 

(if known)

A complete list of claims entitled to priority. listed separately by type of prioriiy, is to be set forth on the sheets provided.Only holders of
unsecured claims entitled to priority should be listed in this schedulel ln the boxes provided on the attached sheets, state the name. mailing address,
including zip code. and last four digits of the account number. lf any, of all entities holding priority claims against the debtor or the property oi the
debtor. as ofthe date of the filing of the petition. Use a separate continuation sheet 'for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. if a minor child is a creditor, state the child's initials and the name and address of the chiid's parent or guardian, such as
"A.B.. a minor chl|d, by John Doel guardian.“ Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebior," inctudethe entity on
the appropriate schedule of creditors, and complete Schedu|e H-Codebtcrs. |f a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", ".i", or “C" in the column labeled "Husband, Wife, .ioint, or Community." lf
the claim is contingent place an "X" in the column labeled "Contingent." lf the claim is unilquidated, place an "X" in the column labeled "Un|lqu|dated." if
the claim is disputed. place an "X" in the column labeled l'Dispute~:i." (You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet |n the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this ScheduleE
in the boxlabe|ed "Tota|" on the last sheet of the completed schedulel Report this total also on the Summary of Schedu|es.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of ailamounts
entitled to priority listed on this Schedu|e E in the box labeled "Totals" on the last sheet of the completed schedule. individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotais" on each sheet.Reportthetotalofa|l
amounts not entitled to priority listed on this Schedule .E in the box labeled "Total" on the last sheet of the completed schedule individual debtors with
primarily consumer debts report this total also on the Statisticai Summary of Certain Liabiiities and Re|ated Data.

Check this box if debtor has no creditors holding unsecured priority claims to report 'on this Schedule E.
TYPES OF PR|ORETY CLA|MS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

I:l Domestic Support Obligations
C|aims for domestic support that are owed to or recoverable by a spouse, former spouse. or child of the debtor, or the parent, legal guardian,
or responsible relative of such a chi|d, or a governmental unit to whom such a domestic support claim has been assigned to the extent
provided in 11 U.S.C. § 507(a){1).

|:I Extensions of credit in an involuntary case
C|aims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment ofatrustee or the order for relief. 11 U.S.C. § 507(a)(3).

|:l Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance and sick leave pay owing to employees and commissions owing to
qualifying independent saies representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a){4).

l:j Contributions to employee benefit plans
N|oney owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

l___l Certain farmers and fishermen
C|aims of certain farmers and flshermen, up to $5.775* per farmer or fish'erman. against the debtor, as provided in 11 U.S.C. § 507(a)(6).

|:| Deposil:s by individuals
C|aims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personall family, or household
use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

Taxes and Certain Other Debts Owed to Governmentai Units
Taxes, customs duties. and penalties owing to federal, state. and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

Commitments to lillaintain the Capitai of an insured Depository institution
C|aims based on commitments to FDlCl RTC, Director of the Office of Thr‘rft Supervision, Comptroiler of the Currency, or Board of Govemors of
the Federa| Reserve System, or their predecessors or successorsl to maintain the capital of an insured depository institutionl 11 U.S.C. § 507

(3)(9)-

l:] C|aims for Death or Fersona| injury Whiie Debtor Was intoxicated
C|aims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, adrug, or another substance 11 U.S.C. § 507(a)(1t)).

* Amounts are subject to adjustment on 4/01/13, and every three years thereaiter with respect to cases commenced on or after the date of adjustment

No continuation sheets attached

 

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ssF (offir,ial Form sF) (12/07)

|n re Robert: Clinton Grete and Grete, Tiffany Lee , CaSe NO,
Debtor(s) rif known)

SCHEDULE F - CRED|TORS HOLDlNG UNSECURED NONPR|OR|TY CLA||V|S

State the name, mailing,address, including zip code, and last four digits of any account number, of allentlt|es holding unsecured claims without
priority against the debtor or the property of the debtor. as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. |f a minor child is a
creditor, state the chi|d's initials and the name and address of the ch|id's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the chi|d's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 100?(m). Do not include claims listed in Schedules D and E. if all
creditors will not fit on this page, use the continuation sheet provided

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. if a joint petition is t`ited, state whether the husband, wife, both of

theml or the marital community may be liable on each claim by placing an "H," "W." "J," or “C" in the column labeled "Husband, Vii'ifel Joint. or
Community."

if the claim is contingent place an "X" in the column labeled "Contingent." if the claim is unliquidated, place an "X" inthe column labeled
"Un|iquidated." if the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one cf these three
columns.)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules Report this total also on

the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.

|:| Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name,'lv|aiiing Address Date Cialm was incurred, ‘ Amount of C|aim
|nc|udlng Z|p Code, .6 and Conslderatlon for Cialm. § §
§ if C|aimls Subjectto Setoff,so State. q, g -c,
And AccourltNumber § §’ -5 2
_ _ 6 H--Husband 5 g §_
fSeemst.ructions above.) 0 W__Wife § -E _Q
J--.iarnt U 3 0
C--Cornmunity
AccountNo: H $ 7,185.47`
Creditor # : l Default Fina.]'. Judgment
Caval.ry Portfo.lio Sez:'vices, LLC 2011 CC 2623
500 Summit Lake Dr:i'.v'e St:e 400 C l P tf l, S _
valhalla ivy 10595-1340 ‘“`a ry °r ° "‘° er"lces "'
Robert C. G.r'ete
AccountNo: 9253 J $ 53,854. 71
Cred:i.tor # : 2 judgment
BAC H°me L°ans BAC Home Loan.s v. Ro.`bert C. Grete,
c/o Marsha_'i.l C. W’atson t l
1300 mr assn st see 120 a a
sort Lauderdale FL 33309 2099~GA~OO444O
Acccunt No: J $ 97, 654 . 88
Creditor # : 3
Bank of Amerlca Unsecured second mortgage after
P.O. Box 5170 f l .
sami valley ca 93062-5170 °re"" °Sure
2 continuation sheets attached Subtotal$ $ 1531 695_ 05
Tota|$
(Use only on last page of the completed Scheduls F. Report also on Surnmary of
Scheduies andy if applicable on the Statistioal Summary of Certain Liabilities and Reiaied

 

 

 

 

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BGF tOfficla| Form 6F)(12107) - Cont.

jn re Robert Clinton Grete and Grete,
Debtor(s)

Tiffany Lee

Case No.

(if known)

SCHEDULE F - CREDlTORS HOLD|NG UNSECURED NONPRiORlTY CLAINIS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name, liiiaiilng Address Date Cialm WHS thU"€d, Am°““t of C|aim
C ' .
including zip cooley a and Conslderation for lalm ‘E §
3 if C|aim is Subject to Setoff, so State. m g .=,
AndAccountNumber 8 B’ ‘5 ..°."
_ _ 5 H--Hushand '*= .9' E.
(Seo instructions above.) o W__Wife § E _i£
J--Joint 0 3 0
C--community
AocountNo: H $ 6,404.55
Creditor # : 4 judgment
§?;§eE N t C t D 2009~<:0-001326
. ewor en er r.
Suite 101 Chase Bank USA v. Robert C. Grete
Deerfield Beach FL 33442
AccountNrJ: 0526' H $ 21,540.45
Creditor # : 5 Credit Ca:r:d- Purchases
Convergent Outsourcing, Inc:.
10750 Ha.tmnerly Blvd. #200
Houston TX 77043
Account No: 62L1 H $ 6', 759. 01
Creditor # : 6 Line of credit
Eglin Federal Credit Union
838 Eg.lin Pkwy NE
Fort: Walton Beac FL 32547
Accsuntno: 3659 w s 9,068. 64
Creditor # .‘ 7 Credit Card Purchase,s
Mid.'i_and Credit Management:
8875 Aero Drive St:e 200
San Diego CA 92123
Account No: 5868 W' X $ 22, 626. 77
Creditor # : 8 Credit Caz'd Purchases
Nationa_'i_ Enterprise System
29125 Solon Road
Solon OH 44139
SheetNo. l of zcontinuation sheets attached to Schedule of Suhtotal$ $ 66,399.42
Creditors i-lolding Unsecured Nonpriority C|aims Total $

(Use only on last page of the completed Schsdule F. Reporl also on Summary of

Schsdules and, if applicable on the Statistical Summary of Certain Liabilities and Reiated

 

 

 

 

 

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BSF (Officia| Form BF) 112107) - Cont.

|n re Robe:rt Clinton G’ret:e and Grete, Tiffany Lee , Case No.
Debtor(s)

{if known)

SCHEDULE F - CREDlTORS HOLD|NG UNSECURED NONPR|OR|TY CLA|N|S

{Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

creditors Name, Maillng Address Dafe C|aim was incurred Am°lmf °f Cialm
including Zip code’ .5 and C.:onstderation for Cialm. _E §
5 if Cialm ls Subject to Setoff, so State. w g .5
And Account Number § E’ '5 3
_ _ 6 H--Husband '5 -_g §
(Sse instructions above.} 0 W__W|fe 5 -E g
J-_.iaint 0 -"-’ n
G--Commun|ty
Account No: 2906 H $ 18, 916, 90
Cred:i. tor # : 9 Credit Carcl Purchases
Van Ru Credit Corpora tion Discover Card
1106.9 Strang' Line Rd, Bldg E
Lenexa KS 662.15
Account No:
Account No:
Account No:
Account No:
Sheet No. 2 of 2 continuation sheets attached to Schedu|e of Subtotai$ $ lB, 91 6 . 90
Creditors Holding Unsecured Nonpriorlty C|aims Tota|$
(Use only on last page ot the completed Scheduie F. Report also on Summary of $ 244 , OJ..`I. . 38
Scheduias and. ifapplioable, on the Staiisticai Summary of Certain Liabilities and Related

 

 

 

 

 

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BBG (Official Fo rm BGi (12»'07]

in re Robert Clini:on Grete and Grete, Tiffany Lee iDebtor Case No.
(ifknown)

SCHEDULE 'G-EXECUTORY CONTRACTS AND UNEXP|RED LEASES

Describe all executory contracts cf any nature and all unexpired leases of real or personal property. include any timeshare interestsl State the nature ct
debtor’s interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a iease. Provide the names and complete mailing
addresses of ail other parties to each lease or contract describedl if a minor child is a party to one of the leases or contracts, state the child‘s initials and the
name and address of the child's parent or guardian, such as "A.B., a minor chi|d, by John Doe, guardian." Do not disclose the child‘s name. See,

11 U.S.C. §112 and Fed. R, Bankr. P. 1007(m).

[i Check this box if the debtor has no executory contracts or`unexpired leases.

 

Name and iii|ai|ing Address,
including Zip Code, of
Other Partles to Lease

Description of Contract or Lease and
Nature of Debtor's lnterest.

 

or Contract.

State whether Lease is for Nonresidential Real Property.
Stats Contract Number of any Government Contract.

 

Danny Davis

1092 Forest Lake Terrace

Contract Type: Lease

Terms:

Beginning date:

Debtor's interest:

DeSCriptiOi’iZ 1092 Forst La]ce Terrac:e

Buyout Option:

 

David & `Deidra Fort
110 L:r'.nco.i‘.nshire

Niceville FL 32578

Contract Type: Lease

Terms:

Beginning date;

Debtor's interest

DeSCriptiQitZ 110 Lincolnshire, Nic:eville FL

Buyout Option:

 

Lawrence & Tak'ako Lee
21 .Kelly Way

Valparaiso FL 32580

Contract Type'. Lease

Terms:

Beginning date:

Debtor's interest

DesCriptiOri: 21 Ke_'i.ly Way, Valpariso FL

Buyout Option:

 

Mark Curran
906 Nutmeg Ave

Ni Ceville FL 325 78

Contract Type; Lease

Terms:

Beginning date:

Debtor's interest:

DeSCiiptiOi'if 906 Nutmeg AVenuc-.\, Nicreville FL

Buyout Option:

 

Walter Kane
1305 23rd Street

Niceville FL 32578

 

 

Contract 'i"ype: Lease

Terms:

Beginning date:

Debtor's interest

Descri|otiol'i! 1305 23rd Street, Niceville FL 32578

Buyout Option:

 

Page l of l

 

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ssi-l roniciai Form eng i12r01)

in re Robert Clinton Grete and Grete, Tiffany Lee llDebtor Case NO.

 

(it known)

SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case. that is also liable on any debts listed by the
debtor in the schedules of creditors. include all guarantors and cdsigners. if the debtor resides or resided in a community property state.
commonwealth, or territory (lnciuding Alaska. Arizona, California, ldaho, Louisiana, Nevada, New Nlexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case. identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state. commonwealthl or territory. include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. if a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C.-§112 and Fed. R. Bankr. P. 1007(m).

Check this box if the debtor has no codebtors.

 

Name and Address of Codebtor Name and Address of Creditor

 

 

 

 

 

 

Page l of l

 

 

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ser romnlal Form sl) (1 2101)

ln re Robert Clinton Grete and G.r:ete, Tiffany Lee Case No_,
Debtor(s) rif known).

SCHEDULE l - CURRENT lNCONlE OF INDlV|DUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, Whether or not a joint petition is
ti|ed, unless the spouses are separated and a joint petition is not t||ed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtoi“s Niarital DEPENDENTS OF DEBTOR AND SPOUSE
Status= RELATloNsle->(s): AGE(S)¢
Mar'ri ed Daughter l 4
Daughter ll
Daughter 8
Son 5
EiViF'LOY|ViENT: DEBTOR SF’OUSE
Occupation Se.'l.f Employed Self Employed
Name of Emplcyer BPN Outaide the Box BPN Outside the Box
How Long Empioyed 6 years 6 years
Address of Employer
lNCOi\liE: (Estimate of average or projected monthly income at time case filed) DEBTOR SFOUSE
‘i. \\lionthiy gross wages. saiary. and commissions (Prcrate if not paid monthiy) $ 1 , 300 . 00 $ 1 , 248 . 00
2. Estimate montth overtime $ 0 . 00 $ 0 . 00
a.susroTAl_ |$ 1,300.00 $ 1,248.00
4. LESS PAYROLL DEDUCT|ONS
a. Payroli taxes and social security $ 0. 00 $ 0. 00
b. insurance $ 0 ., 00 $ 0n 00-
c. Union dues $ 0 . 00 $ 0. 00
d. other (speclfy); $ 0. 00 $ 0, 00
5. susrorAL or PAYRoLL oEoucrloNs $ 0. 00 $ 0. 00
e. 'roTAL NET lleNTHLY TAKE Holle PAY $ 1, 300. 00 $ 1, 240. 00
7. Regu|ar income from operation of business or profession or farm (attach detailed statement) $ 3, 500 . 00 $ 3, 500 . 00
8. incomefrom real property $ 4, 100 . 00 $ 0. 00
9. interest and dividends $ 0 . 00 $ O. 00
10. Alimony, maintenance or support payments payable to the debtor t'or the debtors use orthat $ 0 - 90 $ 0 - 00
of dependents listed above.
11. Socia| security cr government assistance
(Spectfy): $ 0 . 00 $ 0. 00
12, Pension or retirementlncome $ 0.. 00 $ 0. 00
13. Other monthly income
(SPECifr)f $ 0. 00 $ 0 . 00
14. susToTAL oF LlNEs 7 Tl-laouel-l 13 $ 7, 60'0. 00 $ 3, 500. 00
15. AVERAGE MoNTHLY lNcolle (Asd amounts shown on llnes s and14) $ 8, 990- 00 $ 41 743- 09

 

 

ls. coll.lalNEo AvERAcE lvloNTl-ll_Y lNoorrlE; (comblne column totals . § 13 549, 99

 

from line 15; if there is only one debtor repeat total reported on line 15) (Report also on S“mmary of Schedu|es and if Eppncab:e on

Stalistica| Summary of Certain Liabilities and Re!ated- Data)

 

17. Describe any increase or decrease in income reasonably anticipated to occur Within the year following the filing of this document

 

 

 

Page No. l of 1

 

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esslonlclal Form cannon

|n re Robert Clinton Gz'ete and Grete, Tiffany Lee Case NO.
Debtor(s) '

(lf know.n)

SCHEDULE J-CUR'RENT EXPEND|TURES OF lNDIVlDUAL DEBTOR

Compiete this schedule by estimating the average or projected monthly expenses ot the debtor and the debtor's famiiy. Prcrate any payments
made bi-weekiy, quarter|y, semi-annuaiiy, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from

the deductions from income allowed on Form 22 A or 22C.

i:i Check this box if a joint petition is filed and debtol“s spouse maintains a separate household. Compiete a separate schedule of expenditures labeled

 

 

 

 

"Spouse."
1- Reni Or horne mortgage nnrnieni tinnlii¢le lot rented inr mobile hornei ................................................................. . ......... iii ................. ~F. /. .-'?`QQ.-. .O.Q
a. Are real estate taxes inciuded? Yes No l____l
b, is property insurance inciuded? ¥es No l:l
2. Uiiiifies: a. Eiepirlciiv and hearing fuel ................................................................................... . ....................... .$. .................... :4.?.?.-. FF.?.
b. Watar and sewer $ 100. 00
°- Te'el°h°i‘e ............................................ . ........................................................................ .$ ........................ D. ..O.Q.
d. Other w $ 0 , 00
Other ...... . .................................................................................................................... .$ ........................ 0.». .Q.Q.
3. Horne maintenance repairs and upkeep) ....................................................................................................... it .................... LQ.Q.-. .Q.Q
4. Food $ 850. 00
5. elether ............ . ............................................................................................ . ............................. .ii ..................... 1.?.$!?.-.?.?.
6. Laundry and dry cleaning $ O- 00
r. npdicpi and denial expenses ................................................................................................................. ii ....................... 5 .Q.'.Q.Q.
B. Transportation (notinciuding carpaymenis) $ 250 ~ 00
9. Re<=reaiion. clubs and entertainment newspapers magazines eic. .......................... . ................................................ it ........................ ?.-. .Q?.
‘iO. Charitab|e contributions $ 250 . 00
11. insurance (not deducted from wages or included in horne mortgage payments)
a- HOmenwner'S Or renter`S l ........ , ...................................................... . ............................................ j$t ....................... ?.-. P. .Q
ln. l_lre $ 75- 90
c- l-leallli ............................................................................................................................. .$ ........................ .O. : .Q.Q
d. Auto $ 135 . 00
e- Other ................................................................................................................................ $. ........................ ?. :.Q.Q
Other $ 0. 00
12. Taxes (not deducted from wages or included in home moltgage)
(Specifv> $ 0. 00
'i3. installment payments: (in chapter 11, 12` and 13 cases, do not list payments to be included in the pian)
a-niil<= .................................................................................. ii ........................ Q...Q.O.
b. Other: $ 0 . 00
¢-Oihen . ....................................................................... . .......... it ......................... Q.-..O.P.
14-'°\""10113’. maintenance and iiiiPlJiJit Pal<l to Othei‘S ....................................................................... 1 ................ .$.. . . . . .. . . . §.'.-.?.Q.
15. Payments for support of additional dependents not living at.your horne $ 0 - 00
16. Reguiar expenses from operation of business. protession, cr farm (attach detailed statement) _______________________________________ _ ______ _$ _________________ ~f5_,_ 5_2_ 0__ 00
tr owen Hair cuts ` $ 35, 00
Oiinrr Haes.eh.a.i.i.i. .e.i.laa¥.=.i.ee ................................................................................. ... ................. :li. ..... . .............. 91..3§.¢.?.?.
Line 17 Continuation Page Total {see continuation page ior itemization) $ 550 - 00
15. AVERAGE MONTHLY EXPENSES 'i`otai lines 1-17, Report also on Summary of Scheduies $ 14 , 000. 00
and, ifappiicabie, on the Statisticai Summary of Certain Liabilities and Ralated Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document
20. STATEMENT OF iViONTH|_Y NET [NCON|E
al Average monthly income from Line16 of Scheduiei $ 131 545 - 00
b. Average monthly expenses from Line 18 above $ 14 , 000 - 00
c. Monthiy net income (a. minus b.) $ (352 - 00)

 

 

 

 

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BSJ(Officiai Form 6J)(12I07)-Continuation Page

m re Robert Clinton Grete and Grete, Tiffany Lee , Case NO-
Deb.tor(s)

SCHEDULE J-CURRENT EXPEND|TURES OF |ND|ViDUAL DEBTOR

{Continuation page)

17. {confinuation} OTHER EXPENSES

 

 

irene maintenance ................................................................................................................. $ ....................... 5 .Q.. ?.i?.
.G.i.f.ts .................................................................................................................................... $ ..................... .l.?.f?..i?!?.
Qi:.ii.es .................................................................................................................................... .$ ..................... 61.?.‘?.-. ?.?.

Line 17 Continuation Page Totai'(seen as line item "'iT" on Schedule Jj $ 550, 00

 

 

 

 

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Form 7 ro4/10)

UN|TED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLOR|DA
NORTHERN D|V|SION

in relRobert Cl:i.nton Grete CESB NO.
and
Gref:e, Tiffany Lee

STATEN|ENT OF F]NANC!AL AFFA|RS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. if the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professiona|, should provide the information requested on this statement concerning ali such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor chiidren, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor ohi|d, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

Questions 1-18 are to be completed by ai| debtors Debtors that are or have been in business, as defined below, also must complete
Questlons 19-25. if the answer to an applicable question is "None," mark the box labeled "None." if additional space is needed for the answer to
any question, use and attach aseparate sheet properly identined With the case name, case number (if known), and the number of the question

DEFiNiTiONS

"|n business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnershipl An individual debtor is "in
business" for the purpose of this form if the debtor is or has been. within the six years immediately preceding the filing of this bankruptcy case.
any of the foi|owing: an officer, director, managing executivel or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partnerl of a partnership; a sole proprietor or self-employed full-time or' part-time. An individual debtor my also' be "in
business" for the purpose of this form if the debtor engages in a trade, business. or other activity, other than as an employee to supplement
income from the debtor's primary employmentl

"lnsider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers. directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.

 

1. income from employment or operation of business

None State the gross amount of income the debtor has received from employmentl trade, or prcfession, or from operation of the dcbtor‘s business including

|:| part-time activities either as en employee or in independent trade or business, from the beginning ofthis caiendaryeartothe date this case was
commencedl State also the gross amounts received -during the two years immediately preceding this calendaryear. (A debtor that maintains, cr has
malntained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. identify the beginning and ending dates of
the debtor‘s fiscal year.) if ajoint petition is filedl state income for each spouse separately (|Vlarried debtors filing under chapter 12 or chapter 13 must
state income of both spouses whether or not a joint petition is filedl unless the spouses are separated and ajoint petition is not filed.]

A|ViOUNT SOURCE

Year to date:6950.00
Last Year: 13900. 00
Year before: 14981 . 00

 

Year to dates 6872. 00
Last Year:16061 . 00
Year before:l5866. 00

 

2. income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment trade, profession, operation of the debtor's business during the two years
|:| immediately preceding the commencement of this case. lee particulars if a joint petition is filed‘ state income for each spouse separatelyl (lirlarried
debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed. unless the spouses are separated and

Statement of Affairs - Page1

 

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Form 7 ro4n o)

ajoint petition is not filed.j

AiViOUNT SOURCE

Year to date:4700.00 rental
La.st Year:60000. 00
Year before: Net Lo.ss

 

3. Payments to creditors
None Complete a. or b., as appropriatel and c.

 

|E

a. individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services. and other debts to any
creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
affected by such transfer is iess than $600` indicate with an asterisi< (*)_ any payments that were made to a creditor on account of a domestic support
obligation or as part of an alternative repayment scheduie under a plan by an approved nonprofit budgeting and creditor counseling agency (Marrled debtors
filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and ajoint petition is not filed.)

 

 

 

= None b. Debtor whose debts are not primarily consumer debts: Llst each payment or other transfer to any creditor made within 90 days immediately preceding the

}x{ commencement of this case unless the aggregate value of ail property that constitutes or is affected by such transfer is less than $5,850*. if the debtor is
an individua|, indicate with an asterisk (*). any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a pian by an approved nonprofit budgeting and creditor counseling agency. {Niarried debtors fi|ingunder chapter 12 or chapter 13
must include payments and other transfers by either or both spouses whether or not a joint petition is filedl unless the spouses are separated and a joint
petition is not filed.)

’ Amounts are subject to adjustment on 4r01f13` and every three years thereafter with respect to cases commenced on or after the date of adjustment

 

None c. All debtors: Llst a|| payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
m were insiders. (li.iarried debtors fiilng under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is tiied,
unless the spouses are separated and a joint petition is not fiied.)

 

 

i 4. Suits and administrative proceedings, executions, garnishments and attachments
None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.

§ j:| (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unie'ss
i the spouses are separated and a joint petition is not filed.)
i cAP'rloN oF sun count on Acsucv
i AND CASE NUii/|BER NATURE OF PROCEED|NG AND LOCAT]ON STATUS OR DlSPOS|TiON
t
n Roberi: Grete v. Evicti on Okatloo.sa Conn ty open
Mark Curran Court

2013 CC 000242

 

Cavalry Porf:folio Cc)ntract: & Oka.'i.oo.sa County Judgment entered.
Services, LLC v. Inciebted.ness Civi.'i. Case closed.
Ro.bert C. Grete

2011 CC 002623

 

Just Digital USA Contrac.'t 62 Okaloosa County Judgment entered
LLC' v. Renovation Indebtednes.s Circuit C:r'.vil and case closed
Services Company,

LLC

2010 CA 00§’777

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Form 7 (04/10)

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CAPT|ON OF SU|T COURT OR AGENCY

AND CASE NU|V|BER NATURE OF PROCEED|NG AND LOCATION STATUS OR DiSPOSiT|ON
Suntrust Bank v. Foreolosure Okaloosa County open (judgment
Robert C. Grete Circ:uit: Civil entered)

2010 CA 000418

Chase Bank USA v. Contract & Okaloosa. County Reopened

Robert C. Grete Indebtedness Civil

2009 CC 001826

BAC Home Loans v. Foreolo.sure Okaloosa Count:y closed

Ro.bert C. Grete Circuit Civil

2009 CA 004440

Pennymac Co.t:p v. Foreolosure O.icaloo.sa C'ounty Diemissed
Robert C. Grete Circuit Civil

2009 CA 004209

Greenpoint Mortgage Foreolosure Okaloosa Cot.tnty Closed.

v. Robert C. Grete Cirouit Civil

2009 CA 003967

BAC Home Loans v. Foreclosure Okaloosa Couni:y open

Robert C. Grete Cirouit Civil '

2009 CA 003480

The Bank of New Foreclosure Okaloosa Ciroui't judgment entered,
York v. Robert C. Civ'il case is still
Grete pending

2009 C'A 003305

Countrywide Home Foreclosure Okaloosa County Judgment entered

Loans V. Ro.bert C.
Grete
2009 CA 003099

Ciroui t Civi.'l‘.

and case olosed.

 

None b. Describe ali property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the

A

whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not fl|ed.)

w commencement of this case. (Marriod debtors filing under chapter 12 or chapter 13' must include information concerning property of either or both spouses

 

5. Repossessions, foreclosures and returns

None Llst all property that has been repossessed by a creditor, sold at a foreclosure sale. transferred through a deed in lieu of foreclosure or returned to the seiler,
|:| within one year immediately preceding the commencement of this case. (|`viarried debtors filing under chapter 12 Or GhElplEr 13 must include infOrmeiDn
concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}

NAl\iiE AND ADDRESS

OF CREDlTOR OR SELLER

DATE OF`

REPOSSESS|ON

F`O RECLOSURE SALE,

TRANSFER OR RETURN

DESCR|PTION AND VALUE OF PROPERTY

Statement of Affairs - Page 3

 

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Form 7 (04/10)
DATE OF
REPOSSESSiON
NAN|E AND ADDRESS FORECLOSURE S/-\LE,
OF CREDlTOR OR SELLER TRANSFER OR RETURN DESCR|PT|ON AND VALUE OF PROPERTY
Name: Bank of America 08/05'/2011. Description: 617 Fir Avenue,
Address: P. O. Box 51.70 Niceville FL
S.r'_mi Valley, CA 93062-5170 Value:E'old to FNMA for $41, IOO. 00

 

6. Assignments and receiverships

None a. Describe any assignment of property for the benefit of creditors made Within 120 days immediately preceding the commencement of this case. (l'vlarried
|X] debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or. not a joint petition is filed, unless the
spouses are separated and a joint petition is not tiied.)

 

None b. List all property which has been in the hands of a custodianl receiver, or court-appointed official within one year immediately preceding the
53 commencement of this case. (ivlarried debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
whether or note joint petition is filedl unless the spouses are separated and a joint petition is not filed.)

 

7. Glfts t
None Llst all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
|:| family members aggregating less than $200 in value per individual family member and charitable contributions aggregating iess than $100 per recipientl

(Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filedl
unless the spouses are separated and a joint petition ls not tiled.)

 

NA|V|E AND ADDRESS OF RELATIONSHIP DATE
PERSON OR ORGAN|ZAT|ON TO' DEBTOR, |F ANY OF GIFT DESCR|PT|ON AND \/ALUE OF G|FT
Name:Ghurch Churc.h Description: Cash
Adctr:esss: Value.' $3545.00

8. Losses
None List all losses from fire, theft. other casualty or gambling within one year immediately preceding the commencement of this case or since the
w commencement of this case. (Niarrled debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint

petition is filed, unless the spouses are separated and a joint petition is notfiled.)

 

9. Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys. for consultation concerning debt

|:I consolidation, relief under the bankruptcy lawl or preparation of a petition in bankruptcy within one year immediately preceding the commencement of

this case.

DATE OF PA.YMENT, AlVlOUNT OF lVlONEY OR

NAN|E AND ADDRESS OF PAYEE NAN|E OF PAYER |F OTHER THAN DEBTOR DESCR|PT|ON AND VALUE OF PROPERTY
Payee: J. St:even Ford, Date of Payment: $15,000.00 Receiv’ed.
Esquire Payor: Ro.bert Clinton Grete Attorney Fee"s’ in the
Addres.s: amount of $300.00 an hour
Post: Office Dravrer 13430 and Paralegal Fees in the
Pensacola, FL 325.91 amount of $75.00 an hour

will be charged (See 2016
(B) Statement and Affi-davit
Of Attorney)

 

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Form 7 (04/10)

DATE OF PAYMENT, AN|OUNT OF |V|ONEY OR
NAIV|E AND ADDRESS OF PAYEE NAi\fiE OF PAYER lF OTHER THAN DEBTOR DESCR|PT|ON AND VALUE OF PROPERTY
Payee: Mark A. Violette, PA Date of Payment: 1/16/2013 $l.'tl€. 75
Address:PO Box 5129, Payor:Robert C. Grete and
Nic:eville FL 32578 Tiffany Grete

 

10. Other transfers

None a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the dlbtor, transferred either absolutely
|:] or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

NA|ViE AND ADDRESS OF
TRANSFEREE, RELAT|ONSH|P TO DEBTOR DATE DESCR|BE PROPERTY TRANSFERRED AND VALUE RECE|VED

Stocrk in !I'D Ameritrade St:ock $1548.07
MM Funds- $1001.93

 

None b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device

>14 of which the debtor is a benificiary.

 

11. C|osed financial accounts

None Llst all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were ciosed, sold, or otherwise transferred

m within one year immediately preceding the commencement of this case. include checking, savings. or other financial accounts, certificates of deposit, cr
other instruments; shares and share accounts held in banks. credit unions, pension funds, cooperatives i=.issoi:iationsl brokerage houses and other financial
institutions (l\ilarried debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
spouses whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not died.)

 

12. Safe deposit boxes
None Llst each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
w the commencement of this case. (iviarried debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether

or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

 

13. Setoffs
None List ali setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
)*A (Marrled debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless

the spouses are separated and a joint petition is not filed.)

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None

i:i

NA|VlE AND ADDRESS OF OWNER DESCR|PT|ON AND VALUE OF PROPERTY |_OCAT|ON OF PROPERTY
Ormer: Desc'ript:ion: See attached
Adoiress: Value.' "E’xhibii: B"

14. Property held for another person
List all property owned by another person that the debtor holds or contro|s.

 

15. Prior address of debtor ‘~

 

 

 

 

 

None if the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that l
>x{ period and vacated priorto the commencementof this case. lfajoint petition is filed, report also any separate address of either spouse. ‘
16. Spouses and Former Spouses
None if the debtor resides or resided in a community property state, commonwealth or territory (including A|aska, Arizona, Ca|ifornia, ldaho, Louisiana. Nevada,
w Nevv |‘yiexicol Puerto Rico, Texas. Washington, or Wlsconsln) within eight years immediately preceding the commencement of the Case. identify the name of
the debtor‘s spouse and of any former spouse who resides or resided with the debtor in the community property state.
17. Environmental information
None For the purpose of this question. the following definitions appiy:
>I{
"Environmental Law" means any federal, statel or local statute or regulation regulating pollution, contamination releases of hazardous or toxic substances1
wastes or material into the air, iand, soill surface water` groundwater. or other medium, includingl but not limited to, statutes or regulations regulating the
cleanup of these subsiances, Wastes, or material.
“Site" means any location, facility, or property as defined under any Environmentai Lawl whether or not presently or formerly owned or operated by the
debtor,
including. but not|imited to disposal sites.
"Hazardous N|atel'ia|" means anything defined as hazardous waste, hazardous substancel toxic subsianoe, hazardous material, pollutant or contaminant or
similartermunder an Environmental Law:
a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
under or in violation of an Environmenta| Law. indicate the govemmenial unitl the date of the notice, and. if known, the Environmentai Law:
None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous iviaterial. indicate the
m governmental unit to which the notice was sent and the date of the notice.
None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Lawl with respect to which the debtor is or was a

party. indicate the name and address of the governmental unit that is or was a party to the proceedingl and the docket number.

 

None

18. Nature, location and name of business

a. if the debtor is an individual, list the names, addresses, taxpayer-identification numbersl nature of the businesses and beginning and ending dates of all
businesses in which the debtor was an officer, directorl partner. or managing executive of a corporationl partner in a partnership, sole proprietor, or was
se|f~ernployed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this casel or in
which the debtorowned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

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if the debtor is a partnership list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of

all businesses

in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, Withtn six years immediately preceding the
commencment of this case.

if the debtor is a corporation list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning.and ending dates of

ali businesses

LAST FOUR D|G|TS OF

in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
commencment of this case.

BEG|NNlNG AND

 

 

NAiViE SOC|AL-SECUR|TY OR ADDRESS NATURE OF BUSINESS ENDING DATES
OTHER |NDinDUAL
TAXPAYER-|.D. NO.
(lTiN)/' COlvlF’LETE E|N
Renovation ID:XX-XXXXXXX 2413 Dunc:an Construction & 02/2006 to
Services Contpany, Drive, Niceville Renovation 10/2011
LLC, d.b.a. FL 32578
Blueprints Now!
BPN Outside the ID:45~3531043 1130]3 Hospital Construction and 2012
Box, LLC, Road, Ft Walton Renovation ( took through
Beach, FL 32543 over for current
Renovation
Ser'vices

Company, LLC &
Blueprints Now'
in 2012)

 

None b. identify any business listed in response to subdivision a., above, that is "sing|e asset real estate" as defined in i‘i U.S.C. § 101.
K{

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, directorl managing executivel or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession or other activity, either fu||- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business. as defined above,
within six years immediately preceding the commencement ofthis case. A debtor who has not been in business within those six years should go
directly to the signature page.)

 

19. Books, records and financial statements

None a. List ali bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping cf

m books of accountand records of the debtor

 

None b. Llst ali firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
w or prepared a financial statement ct the debtor;

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None c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. if
w any of the books of account and records are not available explain.
None d. List all financial institutionsl creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
}x{ within two years immediately preceding the commencementotthis case.
20. inventories
None a. Llst the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
,H amountand basis of each inventory
None b. List the name and address ofthe person having possession of thc records of each of the inventories reported in a., above.
>I<
21. Current Partners, Officers, Directors and Shareholders
None a. if the debtoris a partnershipl list the nature and percentage ot partnership interest of each member of the partnershtp.
911
None b. if the debtor is a corporation. list all officers and directors of the corporation and each stockholder who directly or indirectly owns, controlsl or hoids 5

percent or more of the voting or equity securities of the corporation

 

22. Former partners, officers, directors and shareholders

 

 

None a. lf the debtor lsa partnership, list each member who withdrew from the partnership within one year immediately preceding the commencementh this case
H
None b. if the debtor is a corporation, list ali officers, or directors whose retationship with the corporation terminated Withtn one year immediately preceding the
m commencement of this case.

23. Withdrawals from a partnership or distribution by a corporation
None if the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any formi bonusesl
m loansl stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.

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24. Tax Consolidation Group.

None if the debtor is a corporationl list the name and federal taxpayer-idenljticatlon number of the parent corporation of any consolidated group for tax purposes
g of which the debtor has been a member at any time within six years immediately proceeding the commencement of the case.

 

 

25. Pension Funcls.

i None if the debtor is not an lndividual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
l

w responsible for contributing at anytime within six years immediately preceding the commencement of the case.

 

[if completed by an individual or individual and spouss]

l declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct

 

 

gate 02/13/2013 Signarure /s/ Robar't Clinton Grete
of Debtor
Date 02/13/2013 Signaiure /s/ Grete, T_'r.ffany Lee
--_-------- of Joint Debtor
{if any)

 

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UN|TED STATES BANKRUPTCY COURT
NORTHERN DISTR|CT OF FLOR|DA
NORTHERN DlVlSlON

il'i re Ro.bert Clinton Grete Case NO.
and Chapter ll
G‘ret:e, Tiffany Lee '

fDebtor

Attorney for Debtor: J. Steven Ford, Eequire

_\EB|FICAT|ON OF CREDlTOR MATR|X

The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

best of our knowledge

Date: 02/13/2013 /-e/ Ro.bert Clinton Grete

 

 

Debtor

/.s/ Grete, Tiffany Lee

 

Joint Debtor

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Robert Clinton Grete
2413 Duncan Drive
Niceville, FL 32578

Grete, Tiffany Lee
2413 Duncan Drive
Niceville, FL 32578

J. Steven Ford, Eequire
Poet Office Drawer 13430
Pensacola, FL 32591

U.S. Trueteee Office

1418 Richard Ruese11 Bldg
75 Spring St, S.W.
Atlanta, GA 30303

Cavalry Portfolio Services, Ll
500 Summit Lake Drive Ste 400
Valhalla, NY 10595-1340

BAC Home Loans

c/o Marshall C. Watson
1800 NW 49th St Ste 120
Fort Leuderdale, FL 33309

BAC Home Loans

c/O Ronald R. Wolfe & ASSOC
PO Box 25018

Tampa, FL 33622-5018

Bank Of America
P.O. Box 5170
Simi Valley, CA 93062H5170

Chase

1191 E. Newport Center Dr.
Suite 101

Deerfield Beach, FL 33442

Converqent Outsourcinq, IHC.
10750 Hammerly Blvd. #200
Houston, TX 77043

Credit Control, LLC
PO BOX 4187
Hazelwood, MO 63042

Eq1in Federal Credit Union
838 Eglin Pkwy NE
Fort Walton Beac, FL 32547

Midland Credit Management
88?5 Aero Drive Ste 200
San Diego, CA 92123

Netional Enterprise System
29125 Solon Road
Solon, OH 44139

Nattonstar Mortgaqe
PO Box 650783
Dallas, TX 75265

PennyMac Loan Servicee, LLC
PO BOX 514387
LOS Angeles, CA 90051~4387

Real Time Solutions
PO Box 35888
Dallas, TX 75235

Real Time Solutions, Inc.
PO Box 35888
DallaS, TX 75235

Seterus lnc.
14523 SW Millikan Way Ste 200
Beaverton, OR 97005

SunTrust Bank

c/o Arthur D. Rubin, Eeq.

PO Box 47?18

Jackeonville, FL 32247-?718

The Bank cf New York Mellon
c/o Shapiro, Fiahman & Gache
4630 Woodland Corp. Ste 100
Tampa, FL 33614

Van Ru Credit Corporation
11069 Strang Line Rd. Bldg E
Lenexa, KS 66215

 

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Owned by B&T Grete
Location QTY item _Unit Value Value Tota|
Living Room 2 Antique chairs 525.00 $50.00 $50.00
Garage 1. Ball Rack $0.00 $0.00 $50.00
Garage 1 Bat'cery Charger $10.00 $10.00 $60.00
Downstairs BR 1 Book She|f $15.00 $15.00 $75.00
Schooi Ro'orn 2 Bool< Shelf $0.00 $0.00 575.00
Upstairs BR 1 Bool< Shelf $0.00 $0.00 575.00
Kitchen 1 Bread ivlaker $20.00 $20.00 S95.00
School Room 1 Chalk Board $U.OD $0.00 $95.00
Famtly Room 1 Chess Tab|e Stand $5.00 $5.00 $100.00
Kitchen 1 Chest Freezer 550.00 $50.00 $150.00
Schoo| Room 1 China Cabinet 545.00 _ 545.00 $195.00
Fami|y Roorn 1 China Cabinet 5100.00 5100.00 5295.00
Farnily Room 1 China/Silvemlare $150.00 $150.00 $_445.00
Att‘ic 1 Christmas Tree $35.00 $35.00 5480.00
oownstairs se 1 clock Radio $0.00 $0.00 5430.00
Niaster BR 1 Clock Radio $D.OD $0.00 $480.00
Schooi Room 1 Computer Desk $0.00 $0.00 $480.00
Outside 1 Concreta Picnic Tab|e 550.00 $50.00 $530.00
Garage 4 Coo|ers $5.00 $20.00 $550.00
Living Room 1 Corner Doli Cabinet $50.00 S50.00 5500.00
Living Room 1 couch $50.00 _ $50.00 $650.00
Far‘nily Room 1 Dining Room Tab|e With Chairs $250.00 5250.00 5900.00
Kitcheri 1 Dishwasher $75.00 575.00 5975.00
Living Room 1 Doli Collection $0.00 $O.UO $975.00
Kitchen 1 Doub|e Oven $200.00 $200.00 $1,175.00
sewage 1 oremm`ei set $25.00 525.00 $1,200,00
Attic 3 Dresser $15.00 $45.00 $‘,1,245_.00
Downstairs BR 1 Dresser $25.00 $25.00 $1,270.00
i’viaster BR 1 Dresser $35.00_ $35.00 $1,305.00
Upstairs BR 3 Dresser $'.15.00 $45.00 51,350.00
|Vlaster BR 3 Dressars $15.00 $45.00 $1,395.00
iii/tester BR 1 DVD Player $10.00 $10.00_ $1,405.00
Basernent 1 Eier:tr|c Fan $10.00 $10.00 $1,415.00
Family Room 2 land Tabies 510.00 $20.00 $1,435.00
Garage 2 Erid Tabtes $5.00 $10.00 $1,445.00
|Vlaster BR 4 End Tab|es $5.00 $20.00 $1,465.00
Anic 1 Fiis cabinet 510.00 510.00 $1,475.0`0
Fami|y Room 1 Firepiace irons $5.00 $5.00 $1,480.00
Family Room 1 _Foiding T'able with Chairs $35.00 $35.00 $1,515.00
Kitchen 1 Fryer $5.00 $5.00 $1,520.00
Bas_ement 1 Gaf 510.00 $10.00 $1,530.00
Outside 1 Gas Grili _ $50.00 $50.00 $1,580.00
Attic 1 ancima Filar's oining iton table a char 5125.00 $125.00 $1,705.00
Gara_ge 1 Hydrauiic Jacks $lU.GD $10.00 $1,715.00
t(itcherr 1 ice Mal<er $50.00 $50.00 _ $1,765‘00
Attic 1 ironing Board $5.00 $5.00 $1,770.00

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Garage 1 lig SaW $10.00 $10.00 $1,780.00
lvlaster BR 1 t_(id's Chair $5.00 $5.00 $1,785.00
UpStairS BR 1 i(id's Chair $5.00 $5.00 _ $1,790.00
lViaSter BR 1 King Size Bed $75.00 $75.00 $1,865.00
iviaster BR 1 Lamp _ $5.00 _ 55.00 $1,370.00
Office 1 Lamp $5.00 $5.00 $1,3_75.00
Outside 1 Lawn Mower $50.00 $50.00 $1,925.00
Family Room 1 Leatl'ier Couch _ $75.00 575.00 $2,000.00
Fami|y Room 1 Leather Recliner $50.00 $50.00 $2,050.00
Master BR 1 Leather Rocker $50.00 $50.00 $2,100.00
Family Room 3 Living Room Cha'irs $15.00 $45.00 52,145.00
Mastei' BR 1 Luggege $25.00 $25.00 $2,170.00
Garage l Nlicrowave Cabinet $D.OO $0.00 $2,170.00
Living Room 1 ivlini Grandfather Clock $75.00 $75.00 $2,245.00
Laundry Room 1 Mini Televlsion $0.00 $0.0U $2,245.00
Kitcl'ier\ 1 t\/iixer $ZU.DO $20.00 $2,255.00
Kitchen 1 l\/iultiple Dishes & glasses 525.00 $25.00 $2,290.00
Ki'cchen 1 Nlultipte Fiatware $25.00 $25.00 $2,315.00
Kitchen 1 lVlultiple Pots & Pans $25.00 $25.0[} $2,340.00
Basemerlt 1 Old Desk to be refurbished $25.00 $25.00 $2,365.00
Living Room 1 O|d Kitchen Table & Chairs $100.00 $100.00 $2,465.00
Fami|y Room 1 Persona| Computer $0.00 $D.OO $2,465.00
Basement 2 Picture Speakers $5.00 $10.00 $2,475.00
Family Room 8 PictureS $0.00 $0.00 $2,475.00
Upstairs Hallway 18 Pictures $0.00 S0.00 $2,475.00
)ownstairs Ha|lwa 3 Pictures $U.OG $D.DO $2,475.00
Kitchen 1 Refrigerator $200.00 SZOD.OO $2,675.00 _
AttiC 1 Schooi Desk $5.00 $5.00 $2,680.00
School Room 5 Schooi Desk $5.00 $25.00 $2,705.00
Basement 1 Set of Go|f Clubs from Garage sale SD.DO $0.00 $2,705.00
Attic 1 Sewing Supplies 550.00 $50.00 $2,755.00
upstairs sit 2 side Tabie brawer 510.00 $20.00 $2,775.00
Attic 1 Slaiom Water Ski $10.00 $10.00 $2,785.00
Office 1 Spare fuli size bed $75.00 $75.00 _$2,860.00
l<itthen 1 step tedder $s.oo $s.oo _ $2,865.00
upstairs BR 2 step stools $2.00 $4.00 $2,369.00
Attit 1 states system $50.00 $50.00 $2,919.00
Garage 1 Supply She|f/ Shoe She|f $5.00 $5.00 $2,924.00
Attic 1 Tabie $15.00 $15.00 $2,939.0{)
Attic 1 Teievision $0.0t] $0.00 $2,939.00
Fami|y Room 1 Te_levision 50.00 $0.00 $2,939.00
Office 1 Television $20.00 $20.00 $2,959.00
Atti`c :t rent ~ 2 man 525.00 $25.00 $2,984,00
Attlc‘. 1 Tent - 8 man 550.00 $50.00 $3,034.00
i<itchen 1 T.oaster $5.00 $5.00 $3,039.00
Attic 1 TOys 550.00 $50.[)0 $3,089.00
Kitchen 1 Trash Can $2.00 $2.00 $3,091.00

 

 

 

 

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Downstairs BR 1 Trash Cans $1.00 $1.00 $3,092.00
office 2 nash cans $1.00 $2.00 $3,094.00
Upstalrs BR 2 Trash Cans $1.00 $2.00 $_3,096_.(10
Famiiy Room 4 Tv Trav Tabies $5.00 $20.00 $3,:115.00
Gara§e 1 Vacuum Cieaner $10.00 $10.00 $3,126.00
Office 1 VCR/DVD player $10.00 $10,00 $3,136.00
Attic 2 wall cabinet $10.00 520.00 $3,156.00
Laundry Room 1 Washer & Dryer 5300.00 5300.00 53,456.00
Kitchen 1 Water Fi|ter $10.00 $10.00 $3,466.00
Upstairs Ha||way 2 Wooden coffee tables 510.00 $Z0.00 $3,486.00

 

 

 

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Location ttem_ ltem[s) Owned By
Basement 1 Army Tent Brother »Brian Grete
Attic 5 Air |Vlattresses Crystal Clark (Tiffany's Sister)
Attic 1 Crib Crystal Ctar|< (Tiffany's Sister)
Attic 2 End Tables Crysta| Ctar|< {Tiffany's Sister)
Ai:tic 1 Snow Sl<|'s & Boots Crystal C|arl< (Tiffany's Sister)
Attic 3 Spare Bed Parts Crystai Clark (Tiffany's Sister}
Attic 1 V-arious and sundry other storage bins Crysta| Clarlc (Tiffany‘s Sister}
Upstairs BR 1 A|icyn's Desk Daughter- Allcyn Grete
Basement 1 Bicycle Daughter - Aiicyn Grete
Downstairs BR 1 Alyssa_'s Bed Daughter ~ Ailyssa Grete
Downstairs BR 1 Do|| l-|ouse Daughter - A||yssa Grete
Upstairs BR 1 Queen Size Bed Daughter -Amber Grete
School Room 1 Amber's Computer Daughter ~Amber Grete
Attic 1 Amber's Desk Da lighter -Amber Grete
Upstairs BR 1 Amber's Guitar Daught-er ~Amber Grete
Upstairs BR 1 Amber‘s l\/iusic Starid Daughter -Amber Grete
Upstairs BR 1 Amber‘s Vio|in Da u§hter -Amber Grete
Basemant 1 Bicycie Daughter ~Amber Grete
Downstairs Hallway 1 Clavinova Piano Da tighter -Amber Grete
Family Room 1 Automan Grandma Grete (Bobby's Nlom)
Attic 1 Baby High Chair Grandma Grete {Bcbby's lvlom)
_ Attic 1 Baby Swing Grandma Grete {Bobby's Mom)
Fami|y Room 2 Couch Grandma Grete (Bobby's Nlom)
Attic 1 Pcrtab|a Cril:) Grandma Grete (Bobby's l\/iorn)
Attic 1 Reciinar Chair Grandma Grete (Bobby's iVlorn}
Downstairs BR 1 Joseph‘s Bunl< Bad _ tossph Grete (son)
Attic 1 Char\ging Table Nlama Filar [Tiffany‘s Nlom}
Niaster BR 1 Mini Desk lviama Filar (Tiffany's Nlom)
Garage 20 Soccer Balls NFCEA
Attic 1 Boo|< $helf OTB, LLC or RSC, LLC
Famiiy Room 1 Computer Stand OTB, LLC or RSC, LLC
Office 1 Dell Computer Systsm OTB, LLC_ or RSC, LLC
Office 1 Desi<_ Lamp OTB, LLC or RSC, LLC
Garage 1 Enc|osed Traiier OTB, LLC or RSC, LLCl
Office 2 Executive Office Dest< OTB, LLC or RSC, LLC
Office 1 Fil`e Sorter OTB, LLC or RSC, LLC
Famiiy Room 1 F|at Screen Moriitor OTB, LLC or RSC, LLC
lvlas_ter BP. 1 Flat Screen Monitor OTB, LLC or RSC, LLC
Office 1 Glass Desi< & Table set with File Hangar OTB, LLC or RSC, LLC
Office 1 HP Desk ink let printer DTB, LLC or RSC, LLC
Kitcben 2 iron Bar Stools OTB, LLC or RSC, LLC
Garage 1 lVllni Frigde OTB, LLC or RSC, LLC
Office 1 iviuratec Pririter OTB, LLC or RSC, LLC
Office 1 Oal< Scro|l Top Des|< & Fi|e Cabinet OTB, LLC or RSC, LLC
Atttc 2 Office Chair OTB, LLC or RSC, LLC
Office 2 Office Chairs OTB, LLC or RSC, LLC
Living Room 2 Plastic: Fo|ding Tabies OTB, LLC or RSC, LLC

 

 

 

 

 

 

 

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Garage 1 Pressure Washer OTB, LLC or RSC, LLC
Office 1 Side Table Drawer OTB, LLC or RSC, LLC
Basement 1 Extentsion Ladder OTB, LLC or RSC, LLC
Basement 1 6' Ladder OTB, LLC or RSC, LLC
Basement 1 Assori:ment of Bui|clin'g Suppiies OTB, LLC or RSC, LLC
Attic 1 Assortment of Nlisc Ceiling Fan Fixtures OTB, LLC or RSC, LLC
Attic 1 Assortment or t\/iisc Light Fixtures OTB, LLC or RSC, LLC
Garage 1 Chain Saw OTB, LLC or RSC, LLC
Garage 1 Craftsrnan Compressor OTB, LLC or RSC, LLC
Garage 2 Dri!ls OTB, LLC or RSC, LLC
Garage 1 Dump Trai|er OTB, LLC or RSC, LLC
Garage 1 Electric Grinding Stone OTB, LLC or RSC, LLC
Attic 1 File Cabinet OTB, LLC or RSC, LLC
Garage 1 Generater OTB, LLC or RSC, LLC
Garage 2 Grinders OTB, i.LC or RSC, LLC
Garage 1 Hammer Chisel OTB, LLC or RSC, LLC
Garage 1 Hopper OTB, LLC or RSC, LLC
Basement 1 Nlitre Saw & Stand OTB, LLC or RSC, LLC
Garage 5 Naii Guns OTB, LLC or RSC, LLC
Garage 1 _ Orbital Sander OTB, LLC or RSC, LLC
Basernent 2 Paint Shelves OTB, LLC or RSC, l.i.C
Garage 1 Paints OTB, LLC or RSC, LLC
Garage 3 Pa|m Sanders OTB, LLC or RSC, LLC
Garage 1 Pancake Compressor OTB, LLC or RSC, LLC
Basemerit 1 Router Table/Router OTB, LLC or RSC, LLC
Garage 2 Routers OTB, LLC or RSC, LLC
Garage 2 Saw horses OTB, LLC or RSC, LLC
Garage 2 Sawsal|s OTB, LLC or RSC, LLC
Basement 1 Scafiolding Set OTB, LLC or RSC, LLC _
Garage 1 Screw Gun OTB, LLC or RSC, LLC
Garage 2 Skill Saws OTB, LLC or RSC, LLC
Attic 1 Spare Bathroom Sinl_< Top OTB, LLC or RSC, LLC
Attic 1 Spare l(itchen Sirik OTB, LLC or RSC, LLC
Garage 3 Staplers OTB, Ll_C or RSC, LLC
Garage 1 Survey instrument OTB, LLC or RSC, LLC
Garage 1 Tile Cutter OTB, LLC or RSC, LLC
Garage 1 Tile Saw OTB, i_LC or RSC, LLC
Garage 1 Too| Boxes /wrenches/Socl<ets OTB, LLC or RSC, LLC
Garage 1 Weed Eater OTB, LLC.or RSC, LLC
Outside 4 Whee| Barrows OTB, LLC or RSC, LLC
Basement 15 _ Yard Tools OTB, LLC or RSC, LLC
23rd street shed 1 ` Texture spray machine oTB, LLC or Rsc, LLC
Outside 1 Sailboat Tommy Pht||ips
Basement 1 Tohatsu Outboard |Vlotor (sai|boat_ Tommy Philiips
Attic 1 Cher's Dresser Trudy E||iot
Attic 2 Corner Shelves Trudy E|iiot
Attic 1 Hospita| Bed Trudy Eiiiot

 

 

 

 

 

 

